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                                    JDUrt o f       STATE OF NEW YORK
                                                      CLERK'S OFFICE
                                                                                  1peatz
            I, RICHARD A. REED, Deputy Clerk of the Court of Appeals of the State of New York, CERTIFY, that

                                               AMY L YNN FESTANTE

was admitted to practice law in all of the courts of the State of New York at the Appellate Division ofthe Supreme Court, held at
New York, New York, on January 12, 2009, and that that name has been entered and appears in the Official Register of Attorneys
and Counselors at Law in the State of New York.

                                                               2rv/iitm^ld,
                                                                              I have signed this certificate and affixed the seal of
                                                                              the Court ofAppeals at the City ofAlbany in the State
                                                                              of New York this 25' day of March, 2010.




                                                                              Richard A. Reed
                                                                              Deputy Clerk ofthe Court

                  I, JONATHAN LIPPMAN, Chief Judge of the Court of Appeals of the State of New York,
                CERTIFY, that the certification of RICHARD A. REED, Deputy Clerk of the Court of Appeals,
                               is in proper form and that it is entitled to fullfaith and credit.




Dated at Albany, NY,                                                          Jonathan Lippman
March 25, 2010                                                                Chief Judge
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                                           Clerk of the Court
